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 7   Attorneys for Plaintiff, Deutsche Bank National Trust Company, Formerly Known as Bankers
     Trust Company of California, N.A., as Trustee for American Home Mortgage Investment Trust
 8   2005-2
 9
                               UNITED STATES DISTRICT COURT
10                                  DISTRICT OF NEVADA
11   DEUTSCHE BANK NATIONAL TRUST                 Case No.: 2:20-cv-01885-APG-VCF
12   COMPANY, FORMERLY KNOWN AS
     BANKERS TRUST COMPANY OF
13   CALIFORNIA, N.A., AS TRUSTEE FOR             STIPULATION AND ORDER TO
     AMERICAN HOME MORTGAGE                       EXTEND TIME PERIOD TO RESPOND
14   INVESTMENT TRUST 2005-2,                     TO COMMONWEALTH LAND TITLE
15                                                INSURANCE COMPANY’S
                        Plaintiff,                OPPOSITION TO COUNTERMOTION
16          vs.                                   FOR PARTIAL SUMMARY
                                                  JUDGMENT [ECF No. 36]
17   FIDELITY NATIONAL TITLE GROUP,
     INC.; FIDELITY NATIONAL TITLE                [Second Request]
18
     INSURANCE COMPANY;
19   COMMONWEALTH LAND TITLE
     INSURANCE COMPANY; DOE
20   INDIVIDUALS I through X; and ROE
     CORPORATIONS XI through XX, inclusive,
21
22                      Defendants.

23          Plaintiff, Deutsche Bank National Trust Company, Formerly Known as Bankers Trust
24   Company of California, N.A., as Trustee for American Home Mortgage Investment Trust 2005-
25   2 (“Deutsche Bank”) and Defendant, Commonwealth Land Title Insurance Company
26   (“Commonwealth”), by and through their attorneys of record, hereby stipulate and agree as
27   follows:
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 1         1. On September 23, 2020, Deutsche Bank filed its Complaint in the Eighth Judicial
 2            District Court, Case No. A-20-821781-C [ECF No. 1-1];
 3         2. On October 8, 2020, Commonwealth filed a Petition for Removal to this Court [ECF
 4            No. 1];
 5         3. On October 13, 2020, Commonwealth filed a Motion to Dismiss [ECF No. 4];
 6         4. On November 30, 2020, Deutsche Bank filed an Opposition to Commonwealth’s
 7            Motion to Dismiss and Countermotion for Partial Summary Judgment [ECF Nos. 24
 8            and 25];
 9         5. On December 21, 2020, Commonwealth filed its Reply in Support of its Motion to
10            Dismiss and Opposition to Countermotion for Partial Summary Judgment [ECF No.
11            36];
12         6. Deutsche Bank contends that it is entitled to file a response to Commonwealth’s
13            Opposition to its Countermotion for Partial Summary Judgment and that its deadline
14            to do so is January 11, 2021 [ECF No. 40];
15         7. In light of the recent holidays, Deutsche Bank’s counsel is requesting a brief
16            extension to respond to Commonwealth’s Opposition, until January 19, 2021;
17         8. This extension is requested to allow counsel for Deutsche Bank additional time to
18            review and respond to the points and authorities cited to in the pending Opposition;
19         9. Counsel for Commonwealth does not oppose the requested extension to the extent
20            that a response is permitted;
21   ///
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 1          10. This is the second request for an extension which is made in good faith and not for
 2             purposes of delay.
 3          IT IS SO STIPULATED.
 4    DATED this 8th day of January, 2021.           DATED this 8th day of January, 2021.
 5
      WRIGHT, FINLAY & ZAK, LLP                      SINCLAIR BRAUN LLP
 6
      /s/ Lindsay D. Robbins                         /s/ Kevin S. Sinclair
 7    Lindsay D. Robbins, Esq.                       Kevin S. Sinclair, Esq.
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      Attorneys for Plaintiff, Deutsche Bank         Attorneys for Defendants, Commonwealth
10
      National Trust Company, Formerly Known as      Land Title Insurance Company, Fidelity
11    Bankers Trust Company of California, N.A.,     National Title Group, Inc., and Fidelity
      as Trustee for American Home Mortgage          National Title Insurance Company
12    Investment Trust 2005-2
13
     IT IS SO ORDERED.
14
                        11th day of __________________,
            DATED this _____          January           2021.
15
                                                ________________________________________
16
                                                UNITED STATES DISTRICT JUDGE
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